                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


 ERPFC RELEASING, INC. (AS AGENT FOR
 CROWVISION, INC.) A CALIFORNIA CORPORATION,
                                               CASE NO.: 1:21-CV-05570
       PLAINTIFF,
                                               JUDGE SARA L. ELLIS
 V.

 THE PARTNERSHIPS AND UNINCORPORATED
                                               MAGISTRATE JUDGE MARIA VALDEZ
 ASSOCIATIONS IDENTIFIED ON SCHEDULE A,

       DEFENDANTS.



                           SCHEDULE A TO THE COMPLAINT

NO.            DEFENDANT/SELLER ALIAS                       MARKETPLACE URL
 1                        011 Store                    aliexpress.com/store/912066248
 2             100% cotton T-shirt 106 Store           aliexpress.com/store/911792028
 3             100% cotton T-shirt 128 Store           aliexpress.com/store/911789052
 4             100% cotton T-shirt 46 Store            aliexpress.com/store/911879228
 5             100% cotton T-shirt 56 Store            aliexpress.com/store/911798720
 6              100% cotton T-shirt02 Store            aliexpress.com/store/912029345
 7              100% Cotton T-shirts I Store           aliexpress.com/store/912061761
 8             100% Cotton T-shirts N Store            aliexpress.com/store/912073756
 9             100% Cotton T-shirts Z Store            aliexpress.com/store/912058763
10                   18888yang Store                   aliexpress.com/store/912023176
11                Animation printing Store             aliexpress.com/store/911932683
12                Anime Streetwear Store               aliexpress.com/store/912058360
13                     Anipeng Store                   aliexpress.com/store/912167028
14                    Bienvenue Store                  aliexpress.com/store/911785998
15                  CanvasEmpire Store                  aliexpress.com/store/4887023
16                     chunshui Store                  aliexpress.com/store/912265526
17                Cotton T-shirts A Store              aliexpress.com/store/912070798
18                   CS Clothes Store                  aliexpress.com/store/912159357
19                  Damon CLUB Store                   aliexpress.com/store/910338054
20                       ddsss Store                   aliexpress.com/store/912059513
21              Decoration My House Store              aliexpress.com/store/912187344
22                    huaiming Store                   aliexpress.com/store/911708214
23               jhhhhhhgggg55555 Store                aliexpress.com/store/912264900
24                    keaiduo88 Store                  aliexpress.com/store/912181756
25               Libreclans Dropship Store             aliexpress.com/store/910910013
26                 LY wall stickers Store              aliexpress.com/store/910359237
NO.              DEFENDANT/SELLER ALIAS                          MARKETPLACE URL
27                 Men women T-shirt Store                  aliexpress.com/store/912186952
28                       my tshirt Store                    aliexpress.com/store/912183300
29               RedBubble-NinetyNine Store                 aliexpress.com/store/911381108
30                SAC A DOC Official Store                   aliexpress.com/store/5424004
31                      Shop sym Store                      aliexpress.com/store/912066130
32                     shop354864 Store                     aliexpress.com/store/912060568
33                  shop5487463158 Store                    aliexpress.com/store/912152345
34                    Shop5527092 Store                      aliexpress.com/store/5527092
35                    Shop5967009 Store                      aliexpress.com/store/5967009
36                   Shop911306087 Store                    aliexpress.com/store/911306087
37                   Shop911327096 Store                    aliexpress.com/store/911327096
38                   Shop911427348 Store                    aliexpress.com/store/911427348
39                   Shop911534049 Store                    aliexpress.com/store/911534049
40                   shop963200001 Store                    aliexpress.com/store/912021316
41                ShopAliaeanewfuture Store                 aliexpress.com/store/911600645
42                         DISMISSED
43                         Twoc Store                        aliexpress.com/store/911871220
44                  Ventiesna Clothes Store                  aliexpress.com/store/912065654
45               Very Good T-shirt 216 Store                 aliexpress.com/store/912060093
46                      WOWOW Store                          aliexpress.com/store/911381041
47                        xiaoalin Store                     aliexpress.com/store/912256507
48                   yinghaofashion Store                    aliexpress.com/store/912181050
49                     Zhongzhong Store                       aliexpress.com/store/4649012
50                            1033                     amazon.com/sp?_seller=A2XROQT2LNKC9V
51                        A005KSART                     amazon.com/sp?_seller=A1A8S6Z5VY5ZIY
52                           aoligeia                   amazon.com/sp?_seller=A28EF07CA0M29H
53                         DISMISSED
54                      Arthur Lazarusy                amazon.com/sp?_seller=A1UUJG1Y6DP28H
55                          Bei Si Ou                    amazon.com/sp?_seller=A31TJ6R214YA10
56                       BRIGHT KEY                    amazon.com/sp?_seller=A16C16W46M0TUB
57                CARANDANG ANAYAT                     amazon.com/sp?_seller=A2RE1TDN9O7AM6
58                ChenCiRiYongBaiHuoDian                amazon.com/sp?_seller=A35O6ZAZXAJG9I
59                         Chicarianoy                   amazon.com/sp?seller=AS8QAH8SOJGJB
60                       chichifangshop                 amazon.com/sp?_seller=A3C7FQKXLRIO4J
61                         dfhihfidids                   amazon.com/sp?seller=A28T8F97LEX79N
62                         DISMISSED
63                         DISMISSED
64                         DISMISSED
65                         DISMISSED
66                      General Limited                 amazon.com/sp?seller=AYPVO8TSH0ZDO
67                      guozhongxiao0                  amazon.com/sp?_seller=A1BTS3QU0HPK78
68                        Haneka Jimy                  amazon.com/sp?_seller=A331ZIXU7HIKU9
69                      HeHangwei Art                  amazon.com/sp?_seller=A2639KD38JTW7P
70    HeNanShengHanShangBaiShangMaoYouXianGongSi        amazon.com/sp?_seller=A13D0MJBPS1825
71                      Huang Yi Shop                  amazon.com/sp?_seller=A3IS3CZB5IW7UD
72                       HuangCaiying                  amazon.com/sp?_seller=A132AG40BD6XJN
73      huangshishiyunzhaodianzishangwuyouxiangongsi   amazon.com/sp?_seller=APQ60RK56CW3L
74                      HUANGXIHAN                     amazon.com/sp?_seller=A3GF5UF9I8EKB1
75                         DISMISSED
                                                2
NO.                DEFENDANT/SELLER ALIAS                           MARKETPLACE URL
76                          jdhnahwjhd                    amazon.com/sp?_seller=A3EBAKQ9UVD9N0
77                          DISMISSED
78                         junhuadedian                   amazon.com/sp?_seller=A2CZVKYNU1LE1M
79                        JUNJIGONGSI                      amazon.com/sp?_seller=A2YPC92VW1R9D0
80                     JWP_ART_STORE                       amazon.com/sp?_seller=A33HJWYJEX107W
81                      Lee Family Color                    amazon.com/sp?_seller=A12ZVXOR799JC6
82                       LGA Global Ltd                     amazon.com/sp?_seller=A3QCCIO76X5RF
83                      LiangKaiHeng Art                    amazon.com/sp?seller=A3F3M107QM33QJ
84                         linjinshan001                     amazon.com/sp?_seller=AFBE45NA9YJF4
85                          lishengquan                   amazon.com/sp?_seller=A16OQWK4G47ETF
86                           liuxue111                      amazon.com/sp?seller=A2IDXYBBN179DR
87          lixinxianyounuowenmaoyiyouxiangongsi            amazon.com/sp?_seller=AAAYJVH20JM14
88                        LNYSOFY CN                      amazon.com/sp?_seller=A3HU086EGVKDB2
89                longhuajingcaimaoyishanghang               amazon.com/sp?_seller=ANGPLJ84POBL
90                       LORBAYHK03                       amazon.com/sp?_seller=A1E7ZBCVYMMXI6
91                           LOUCON                         amazon.com/sp?_seller=A1DDP6IQLPIFCK
92                          MarcoMC55                         amazon.com/sp?seller=A30HVJCT8V00E
93                MAURICE CRATE JEFFERY                    amazon.com/sp?_seller=A1CZ3QLV4BW19J
94                     MI(Meet-Interesting)                amazon.com/sp?_seller=AO1KSCDRH72GF
95                            Mingche                     amazon.com/sp?_seller=A1M79QUHF1RCQ2
96                          MustafySide                    amazon.com/sp?_seller=A2CYZA2ESQZ6FR
97                          DISMISSED
98                       Nost-algia Store                 amazon.com/sp?_seller=A3UKRVXCW2F0LD
99                      ORNAMI STORE                      amazon.com/sp?_seller=A3N8UN0DLMBZCR
100                        PanXiuxu Art                    amazon.com/sp?_seller=A28F73QHSQXONP
101                          PaulLazaru                     amazon.com/sp?_seller=A12JL2TRXT8E9F
102                        QIQIAOWU                        amazon.com/sp?_seller=A2EPVPY7W7958K
103                      QIUHONGPING                       amazon.com/sp?_seller=A13QIBO1AJUYDG
104                         Radulescusa                     amazon.com/sp?_seller=AL87WBHU20JXD
105                          Rien Buan                    amazon.com/sp?_seller=A1RH5X0VGR33NB
106                       Ronald A Click                  amazon.com/sp?_seller=A3SO2YLQ2WZKAG
107                        RUFULI ART                     amazon.com/sp?_seller=A20D76ABDMUK86
108                           Rususysy                    amazon.com/sp?_seller=A25UWPHLJ6WRNI
109    SangwanshenzhenrengongzhinengkejiyouxiangongsI     amazon.com/sp?_seller=AQWLFWVRELOOL
110                          Strensilent                    amazon.com/sp?seller=A16KOZG277TZ5O
111                       SUTINGYART                       amazon.com/sp?_seller=A2IY4CQPXLFZTM
112                         DISMISSED
113                       tanshuilkddkkd                   amazon.com/sp?seller=A37QQITHR4G2T3
114                     The Home STUdio                    amazon.com/sp?_seller=ADHSHQ77BC6SL
115                         DISMISSED
116                        Vintage print                   amazon.com/sp?_seller=ACD2TFZAEDVAG
117                   WallHandmadeDecor                    amazon.com/sp?seller=A2GUT7IUDRNDUA
118                        XiangJunGG                     amazon.com/sp?_seller=A3AWG5STPN2SKB
119                      xiangjunyouxuan                   amazon.com/sp?_seller=A2TR1M1BF15DPG
120            xianyouchenruomaoyiyouxiangongsi           amazon.com/sp?_seller=A2PJKWO4TMANFF
121                   xianyoutenghuamaoyi                 amazon.com/sp?_seller=A10H2OQEDG83LY
122   xianyouxianbangtouzhenhanyuanchenpingongyipindian   amazon.com/sp?_seller=A2XW82S0WUIKE5
123          xianyouxiannuohuimaoyiyouxiangongsi          amazon.com/sp?_seller=A24VVLD0GNDPP1
124                     Xiao Feng is great                 amazon.com/sp?_seller=A1253YWE7P95BU
                                                  3
NO.            DEFENDANT/SELLER ALIAS                             MARKETPLACE URL
125                   xiaobenshengyi                    amazon.com/sp?_seller=AE2O04TDZ5KUQ
126                  xiaoweishangdian                  amazon.com/sp?_seller=A1DX7132OOCGVA
127        xuchangzhezaishangmaoyouxiangongsi         amazon.com/sp?_seller=A2WTZ2HVVEQM3M
128                    YaGuangShop                      amazon.com/sp?_seller=A20E4JQEH2T3EM
129                    YANGXU01                       amazon.com/sp?_seller=A33LCWLQQGSARK
130   yitongmanzuzizhixianyitongzhenyuelanwujindian    amazon.com/sp?_seller=A1GLA9VVV00ONU
131               yixinwangluoxiaodian                  amazon.com/sp?_seller=A3SAC122MA0Q88
132                      DISMISSED
133                  zhengjianlin1978                 amazon.com/sp?_seller=A258EWVRR8JARY
134                 zhengshuhong1974                  amazon.com/sp?_seller=A39BZMLLEM5D1T
135               zhoukoutimoshangmao                   amazon.com/sp?_seller=A2SFV4JPH66P38
136                云 峥贸易有限公司                          amazon.com/sp?_seller=A2VALPDTKJYZ8V
137                         张文环                         amazon.com/s?me=A33KZMDWLMX8NP
138               永定区 传宛楚百货店3                          amazon.com/sp?_seller=A2J7EPNGKQ8UC
139        福建省仙游 县大济王喜财工艺品商行                          amazon.com/sp?_seller=A2FRYWROIL3RK6
140              菏 泽文程商贸有限公司                           amazon.com/sp?_seller=A3GJURP1W7WIPI
141               邮jian下 jia，投 su必搞                    amazon.com/sp?_seller=AGBX7QESB75OZ
142                      DISMISSED
143                       黄福添 DP                      amazon.com/sp?_seller=A3C82ZVCYGCCTC
144                     Bai05 Store                           dhgate.com/store/21599670
145                    Majiaji Store                          dhgate.com/store/21635287
146                   Qinglongg Store                         dhgate.com/store/21224869
147                    10greatbuyer                           ebay.com/usr/10greatbuyer
148                     17feifan888                            ebay.com/usr/17feifan888
149                      DISMISSED
150                     2015sgprato                           ebay.com/usr/2015sgprato
151                       69bfm666                              ebay.com/usr/69bfm666
152                         adagil3                              ebay.com/usr/adagil3
153                      classic_buy                           ebay.com/usr/classic_buy
154                     colbaby2210                           ebay.com/usr/colbaby2210
155                    cyber_model                            ebay.com/usr/cyber_model
156                      daigabriede                           ebay.com/usr/daigabriede
157                     deathnote82                           ebay.com/usr/deathnote82
158                      DISMISSED
159                    furyfireblade                          ebay.com/usr/furyfireblade
160                        gogirl678                           ebay.com/usr/gogirl678
161                        hamo420                              ebay.com/usr/hamo420
162                      DISMISSED
163                   murnidiningru0                         ebay.com/usr/murnidiningru0
164                  nhanghiemxua_0                         ebay.com/usr/nhanghiemxua_0
165                        rusiekatar                           ebay.com/usr/rusiekatar
166                     selmaroberts                          ebay.com/usr/selmaroberts
167                      DISMISSED
168                       splash-119                           ebay.com/usr/splash-119
169                      teeshirtcom                           ebay.com/usr/teeshirtcom
170                      the_atticuk                           ebay.com/usr/the_atticuk
171                 walkingzombies96                        ebay.com/usr/walkingzombies96
172                      wild_boars                            ebay.com/usr/wild_boars

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NO.   DEFENDANT/SELLER ALIAS                      MARKETPLACE URL
173            DISMISSED
174     3DdesignandprintShop              etsy.com/uk/shop/3DdesignandprintShop
175    ArtByBLITZnTHUNDER               etsy.com/uk/shop/ArtByBLITZnTHUNDER
176             BearMix                          etsy.com/uk/shop/BearMix
177         BlueRayTShirts                 etsy.com com /uk/shop/BlueRayTShirts
178            DISMISSED
179            DISMISSED
180          CheshireTees                     etsy.com/uk/shop/CheshireTees
181      Dangerousliaisonshop             etsy.com/uk/shop/Dangerousliaisonshop
182            DISMISSED
183         LOOKATMEco                      etsy.com/uk/shop/LOOKATMEco
184           NewSocietee                     etsy.com/uk/shop/NewSocietee
185            DISMISSED
186        PrintfunCreations                etsy.com/uk/shop/PrintfunCreations
187          RubyDreamCo                     etsy.com/uk/shop/RubyDreamCo
188            DISMISSED
189        TheWallNutsShop                 etsy.com/uk/shop/TheWallNutsShop
190     WonderfullthingsShop             etsy.com/uk/shop/WonderfullthingsShop
191            spreadshirt                          spreadshirt.co.uk/
192            DISMISSED
193              66Yang               wish.com/merchant/5aea89d98a30612265437f59
194              agardy                wish.com/merchant/5fd1fbfe344af2ab7d928cf3
195         aizheng fashion           wish.com/merchant/5416acb04ad3ab7471eebf0d
196          Allen V Steele           wish.com/merchant/5e994a32f4479b5a01df32bf
197   B&B Butchers & Restaurant       wish.com/merchant/6020f16471884d2c07c46ee0
198            B8B8B888               wish.com/merchant/5e91d3206dc979b6d7160ff5
199          biwen fashion            wish.com/merchant/54151c22f8abc87980772d63
200          biyun fashion            wish.com/merchant/540d7f031d2d43129f7a8578
201         Carolyn France            wish.com/merchant/5e89797c355fe587287cdada
202     chaxiaoyan0344963589          wish.com/merchant/600130cc607b0a0503ae356e
203       chenchunwen66888            wish.com/merchant/5e95c5a3ed195b6884e97b80
204           chenkaili157            wish.com/merchant/5ab8925654bd091a5271ef06
205          chenqiu66058             wish.com/merchant/5e64c4862724a83380ddf34d
206           Chris Rogow             wish.com/merchant/5f5348795118eda29a60ad21
207     ChuangzhongmeilanpGt          wish.com/merchant/5e95c642dc7da966fb7680f8
208             chuaufde              wish.com/merchant/5e830ba30c8d006d0b7dfa52
209             ciel store            wish.com/merchant/58e640cc134d36105572cac5
210         Citizenjacquely           wish.com/merchant/5fd3af95c64c70b18a76a94d
211            cjdhhs555              wish.com/merchant/5fa013ed7421fe04c09c4878
212          Denise Cooper            wish.com/merchant/5e8957b829e7864f5d20b2f3
213        DerrickRobindXw            wish.com/merchant/5ea10c2941592719d1a8c771
214         Discovery Green           wish.com/merchant/6020efbeb54280b23433b40b
215              douwei               wish.com/merchant/593103756fffc72d8e3fed02
216              dpliqiu              wish.com/merchant/5ee8710e90eba86474b8d018
217           dutianxia123            wish.com/merchant/5e95764edc7da926ac768477
218           duyu022314              wish.com/merchant/604ae972abb5323104c1d669
219           Eldridgestore           wish.com/merchant/5f427f3636d382705f1a435f
220           Eleanoraashh            wish.com/merchant/5e85db70cb44f950b60664ec
221           enzymopathy             wish.com/merchant/5f8df215db05349d2d59bb11
                                  5
NO.   DEFENDANT/SELLER ALIAS                      MARKETPLACE URL
222        Fallbrook Church           wish.com/merchant/6020edf8480971aa4fc6d6f1
223               Fanyufa              wish.com/merchant/5fb9fec4fcb8206fc9ee608f
224           fashion top 8           wish.com/merchant/5d4a72a722f301379b99b61e
225          fbafeifei18886           wish.com/merchant/5e8d767b54e2aaeb808a4fe0
226             fechitofers            wish.com/merchant/5f9d91faf528ff5543f509db
227                feeeter            wish.com/merchant/5ea2ceba9dffbe904002ba71
228        fengjinliang9691           wish.com/merchant/60716ec8a3f99882b4fd3820
229          Fred Ellington           wish.com/merchant/5e88448bc77ae345aeb1eefb
230           fsdcfegd4412            wish.com/merchant/5d55213f40defd3782ac4301
231        gaishanshanshop            wish.com/merchant/5e815592ba8f52b8e714702a
232              gaofuwei             wish.com/merchant/5ac88ddd28a2b30ec100145b
233          gaojinxin7814            wish.com/merchant/604486a73935a00b37bcc1a8
234                Garece              wish.com/merchant/5fbf23018f10be1bf1d0a4a9
235               Ghgfdxb             wish.com/merchant/5ff7e6d7df1d6428ca97b633
236             giocovince             wish.com/merchant/5fbd3667cb59ab22f58fdece
237    Great hobbit energy Hall       wish.com/merchant/5dd938b1a03713181a7f485b
238      guanpengpeng01620            wish.com/merchant/6096002c6fce421951aa2619
239       guoqianqian52828            wish.com/merchant/5f05b203d2ee9840006ab648
240         guotian fashion           wish.com/merchant/541a92b7f8abc82842a8ccd1
241          guoweiweiguo             wish.com/merchant/5acc4b5154bd093429dd6b26
242          hand knit wool           wish.com/merchant/5d54d4591527546566b92486
243              Hayekite             wish.com/merchant/5fd3982baf71b19788a3151c
244               Heaven1              wish.com/merchant/5f65d306f1cd9c3283f466ef
245         Hecaery Baby's            wish.com/merchant/5f23ac8848d1cc3cf36b06d7
246       huangjiawen95081            wish.com/merchant/5e5383e068f8f90ec0488d55
247            Hujiangruan             wish.com/merchant/5f851f3f97591dc93349fa87
248                  ico3             wish.com/merchant/5f918019446a0d2730d61fc5
249             ijvhg5shop             wish.com/merchant/5f5d997fe2e62bb372d83f2f
250           Inside a story          wish.com/merchant/5d50ca29b843295ff8d71dd3
251                 J6K6              wish.com/merchant/5e9288556dc97934f5160d23
252         Jason B Schultz            wish.com/merchant/5e9836ddd4392f3ba3f7f7f6
253         Jeff Jackson433           wish.com/merchant/5ed5fcb235a75486c07e4f9b
254          JIANGsuping              wish.com/merchant/60759bafa9f12572d54e21e4
255          Jiangtao Sotre           wish.com/merchant/53dcdb4bff4d6d54dec27e84
256        jiangyan1890608            wish.com/merchant/5abd2c9a823a3e3cfd1e0a43
257       jiaoyunshuo70859            wish.com/merchant/60b4642380bfc72a01f4f7d6
258             jirao87673            wish.com/merchant/6007df3764eae073c2613e60
259       Josephine Taranto           wish.com/merchant/5e97ca8f29e7867c80e80821
260            Julie Proffitt         wish.com/merchant/5e8ac01899a1f9328cd44f1c
261          kongjun Store            wish.com/merchant/5f87f743f2d607de170d4991
262              laevulose            wish.com/merchant/5f8dbe1fc525e5b69c1dab83
263              LiugR_L              wish.com/merchant/5e293c826cb0fb0fa5e8ed9b
264          liujin7845929            wish.com/merchant/5e64b6b52fdc77bd40e20fe8
265         liulihua fashion          wish.com/merchant/542245429719cd06379823f1
266           lizengtan245            wish.com/merchant/5ffd5dc50d383a707359a447
267               luiferty            wish.com/merchant/5ea51e7e513d45d5da58a876
268      LUPINGJIANG2501              wish.com/merchant/607e5ca320c98708c27c4dab
269            luyu fashion           wish.com/merchant/54152e814ad3ab746bee9c50
270     MartinaEnochgReErD            wish.com/merchant/5ea67e95807aed679bd658d4
                                  6
NO.            DEFENDANT/SELLER ALIAS                           MARKETPLACE URL
271                   Matthew R Solis               wish.com/merchant/5e994e45371bc45e0e0c3f30
272                    MeiyijiaZshop                wish.com/merchant/5e9d1da0a677772adfec755d
273                   Minzaixiar Bras               wish.com/merchant/5df99bbe5a280d0589a6c83b
274                     Monkeryher                   wish.com/merchant/5fd7ae2fd8cf0c5db83e0949
275                    mu21887shop                  wish.com/merchant/5e9d26da7000cbab50b8a4ad
276                   ondrickaedythe7               wish.com/merchant/5e8f2f978b70cbb9b0b573e0
277                       Pablerias                 wish.com/merchant/5dc0d245dfbff1005e72f888
278                    paiyongjincui                wish.com/merchant/5e8d9c51adcdcca26b872ead
279                   Pamela Wheeler                wish.com/merchant/5e89396ca7d64950c0dbdd54
280                   panlanyang6588                wish.com/merchant/5e9971dfeece767cb9663fb2
281                  panmingxia43698                wish.com/merchant/607d20d8bc2d5402010c617f
282             PEDRO LUIS ESCOBAR                  wish.com/merchant/5e44379fed1191b9eae216e0
283                  Piojoarasbinico ca             wish.com/merchant/5f68fea2471217cd3452aa17
284                     qiaomenglin                 wish.com/merchant/5dc283ecb7675c131a8002c4
285                         qiushu                  wish.com/merchant/5965c28ae209f70c4978deb2
286                         qszxcs                  wish.com/merchant/5f79815b1191479a58295407
287                   raozeman76140                 wish.com/merchant/6083f9d983498d0c407cbdab
288                  Rebeccarr22vscca               wish.com/merchant/5e907171ea6fada700890234
289                   ROBIN FINDL                   wish.com/merchant/5e819da359438449650f93f3
290                  Rodney Hawkins                 wish.com/merchant/5e78602b72b032601f0f0e7a
291                     rphaa02shop                 wish.com/merchant/5f65b492a2790e8f61cd4ce6
292                   Sam C Cameron                 wish.com/merchant/5e99519799653409d46d7896
293               SamanthaSusanaQfSf                wish.com/merchant/5ea681192ae5e3826b06fc14
294                       Sampson                   wish.com/merchant/58cbaf2e8412c10aa8c6740f
295                      schuierden                 wish.com/merchant/5fc2b7151d0178d6c95705a0
296   shangqiusanshangjinchukoumaoyiyouxiangongsi   wish.com/merchant/55e55b7b0eeb2a3c7317907d
297                    Shaozhengxu                  wish.com/merchant/5fcf36d6806d377ed6ab9ec6
298                shdjkadhjkwghdjdhj               wish.com/merchant/6087a0ef5ad2f548a15bca80
299                 shengjiahao178226               wish.com/merchant/5fc8539064dc03028d5aad24
300                 shidongfeng48573                wish.com/merchant/60756d972164537382d806cc
301                        Show33                    wish.com/merchant/5fdbff1aef78732703476b4f
302                      solid future               wish.com/merchant/5f651af24712170fcc52a854
303                   songyanghe2jlk                 wish.com/merchant/5faf6f9696ad805af158602f
304               sundayshoppingfunny               wish.com/merchant/5d43c1544c78555d48e59a0f
305                   sunhuili061205                wish.com/merchant/5e96ccaf29e78625273bef6c
306                    Sunny smock                  wish.com/merchant/5d54f6543db43e5e0335857d
307                        t8t8t86                  wish.com/merchant/5e92cbf529e786562a8480af
308           The valve of the east China sea       wish.com/merchant/58de23f667ef3b5fb3915610
309                  Tijiaoer Skincare              wish.com/merchant/5e03246fae908200282c8236
310                    tongjun66923                 wish.com/merchant/60b5ca59c3a48f01f76ccde4
311                 Vaiecayren Baby's               wish.com/merchant/5f222c354749bcca1fbcd75b
312                   Variedades Yuli               wish.com/merchant/5f6bd4374cc3885930be9f66
313                     vbmcfgherw                  wish.com/merchant/5fc85a7c64c5de1eb6048631
314                      Vilma Choi                 wish.com/merchant/5e80861b36e4b823c0d2d19a
315                  wangchongchong                 wish.com/merchant/590431e9f70fa41c45559352
316                   Wanglei686868                 wish.com/merchant/5fc73dabb34108107fea4e67
317                 wangqiandexiaopu                wish.com/merchant/58b68b2196f1bb77028fc9fc
318                   wangqijian8386                wish.com/merchant/60bc5bb75ab9fa2046ca6916
319                    wangqiuhuaiqi                wish.com/merchant/5e673b76fc578f58759280bc
                                               7
NO.          DEFENDANT/SELLER ALIAS                          MARKETPLACE URL
320                  weixiaojuzi                 wish.com/merchant/5ea3ed77f1828b3ecfbc3632
321                   wenwenjia                  wish.com/merchant/5ea02665006fdbf20ceea637
322         WWNV Ladies'Clothing Store           wish.com/merchant/5d57841b560eca427bed589a
323              xiaofenfang0980sfg              wish.com/merchant/602e3caeae77696c4c3166bb
324                 xiatianhuakso                 wish.com/merchant/5fcf02f8a0f7cc3c286a088c
325                 xingtianzi123                wish.com/merchant/5eafc64cb748e4f0c21ad9c0
326                xueguoqing123                  wish.com/merchant/5fc9bf45d61eff32241cd04a
327                  xujun92547                  wish.com/merchant/6056b9354e48452cde500198
328                  yanfujun147                 wish.com/merchant/5e1178cc66f98e6e625f0462
329   Yiwu New Time E-Commercial Business Firm   wish.com/merchant/53f8b01d9020ee5981a4248f
330                   yjfeng9950                 wish.com/merchant/5b165e1e344a43194b7453d4
331                      YLM                     wish.com/merchant/59327ed46a74d2378ffe2d97
332                      z66z5                   wish.com/merchant/5e95009e7d58eb0cbb12cf9b
333                 zhangjinming                 wish.com/merchant/5909bc8d8c10bc1dc6a0aea5
334                 zhangli81726                 wish.com/merchant/607013e8d8150838b35a7045
335                zhangni880152                 wish.com/merchant/5e980ed5d4392f0640f83342
336               zhaoxuesong4980                wish.com/merchant/5fbb6243b1d7bba9d7ac7d3d
337              zhengchunqing1998               wish.com/merchant/5e8f2b8c516553b7edd4eb97
338                 zhoucuijin668                wish.com/merchant/5e8db0c864a640da3e468a26
339              zhouyuanyuan7788                wish.com/merchant/5eb559e501d5e40f80a33e2c
340               zhuyongjian Store               wish.com/merchant/5f7ec9d6995eebaeeafa3dde
341                 zimoshanghua                 wish.com/merchant/58dca7361c7bce536cd46868
342                 zuochenghuan                 wish.com/merchant/5a65bed0cefb1574cae1161a
343                 ZYHclothing                  wish.com/merchant/600172d154836da29b2edb07




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